Case 22-20025-rlj11 Doc 30 Filed 03/22/22            Entered 03/22/22 08:43:56       Page 1 of 9




                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION

  IN RE:                                         §
                                                 §          CASE NO. 22-20025-RLJ-11
  TONY ALTON PENNINGTON,                         §                (Chapter 11)
                                                 §
           Debtor.                               §

                                 AMENDED SCHEDULE A/B

       I declare under penalty of perjury that I have read the following summary of schedules,
schedules, and statement of financial affairs, and that they are true and correct to the best of my
knowledge, information, and belief.



                                                       /s/ Tony Alton Pennington
                                                  TONY ALTON PENNINGTON


PROPOSED ATTORNEYS FOR DEBTOR

Jeff Carruth, SBT #24001846
WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
3030 Matlock Rd., Suite 201
Arlington, TX 76015
Phone: (713) 341-1158
Fax: (866) 666-5322
jcarruth@wkpz.com




2116687.DOCX[1] — Page 1
Case 22-20025-rlj11 Doc 30 Filed 03/22/22           Entered 03/22/22 08:43:56       Page 2 of 9




                Preliminary Statement, Disclaimer, and Reservation of Rights
                  Regarding Schedules and Statement of Financial Affairs

The information contained in the following Debtor’s schedules and related statements,
disclosures, and lists in this Bankruptcy Case (collectively, the “Schedules”) represents the
information the Debtor has developed to date through its investigation of the assets, liabilities,
and affairs of the Debtor and the estate. The Debtor’s continuing review of its pre-petition books
and records could yield additional information that would change or expand the information
contained in the Schedules. Furthermore, while every effort has been made to file complete and
accurate Schedules, inadvertent errors or omissions may exist. ACCORDINGLY, THE
DEBTOR RESERVES THE RIGHT TO AMEND THE SCHEDULES. THE DEBTOR
DOES NOT WAIVE ANY ISSUE OF FACT, REMEDY, CLAIM, OR DEFENSE
PERTAINING TO ANY MATTER ADDRESSED HEREIN.

Any failure to designate a claim on the Schedules as “contingent,” “unliquidated,” or “disputed”
does not constitute an admission on the part of the Debtor that such claim is not “contingent,”
“unliquidated,” or “disputed.” Likewise, the lack of notation of a setoff on Schedule F in the
checkbox does not limit the Debtor from asserting a right of setoff and/or amended these
schedules accordingly. The Debtor reserves the right to dispute, or assert offsets or defenses to,
any claim reflected in the Schedules as to amount, liability, or classification, or otherwise
subsequently designate any claims to be “contingent,” “unliquidated,” and/or “disputed.”

All amounts listed are subject to update and verification.




2116687.DOCX[2] — Page 1
                Case 22-20025-rlj11 Doc 30 Filed 03/22/22                                      Entered 03/22/22 08:43:56                 Page 3 of 9
                                                                                                                                                          3/22/22 8:16AM


 Fill in this information to identify your case and this filing:

 Debtor 1                 Tony Alton Pennington
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number                                                                                                                                    Check if this is an
                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?



 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1      Make:       Ford                                                                                       Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      Expedition                               Debtor 1 only                                    Creditors Who Have Claims Secured by Property.
           Year:       2017                                     Debtor 2 only                                    Current value of the      Current value of the
           Approximate mileage:              110,000            Debtor 1 and Debtor 2 only                       entire property?          portion you own?
           Other information:                                   At least one of the debtors and another
          Vehicle
                                                                Check if this is community property                      $10,000.00                  $10,000.00
                                                                     (see instructions)



                       Honda                                                                                      Do not deduct secured claims or exemptions. Put
  3.2      Make:                                               Who has an interest in the property? Check one
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      CRV                                      Debtor 1 only                                    Creditors Who Have Claims Secured by Property.
           Year:       2018                                     Debtor 2 only                                    Current value of the      Current value of the
           Approximate mileage:                 50000           Debtor 1 and Debtor 2 only                       entire property?          portion you own?
           Other information:                                   At least one of the debtors and another
          Vehicle
                                                                Check if this is community property                       $3,000.00                    $3,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


Official Form 106A/B                                                         Schedule A/B: Property                                                            page 1
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
              Case 22-20025-rlj11 Doc 30 Filed 03/22/22                                        Entered 03/22/22 08:43:56                        Page 4 of 9
                                                                                                                                                               3/22/22 8:16AM

 Debtor 1       Tony Alton Pennington                                                                                Case number (if known)


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>           $13,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                               Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Microwave, Refrigerator, Washing machine, Dryer, Living room
                                    furniture, Dining room furniture, Den furniture, Bedroom furniture,
                                    Lawn furniture, Household tools, Small kitchen appliances, Plates,
                                    china, cookware, 7. Electronics, No, Yes. Describe............,
                                    Examples: Televisions and radios; audio, video, stereo.                                                                   $1,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    Television, computer, two (2) cell phones.                                                                                  $700.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
    No
     Yes.     Describe.....

                                    Tusks and leopard hide taxidermy items, nontransferarable under
                                    applicable regulations, and thus $0.00 value                                                                                    $0.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    No
     Yes.     Describe.....

                                    Exercise equipment, camera, video camera, kids bikes                                                                        $600.00


                                    Bowtech RPM360 Bow                                                                                                          $200.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.     Describe.....

                                    Seiko TRG-42 .338 LAPUA                                                                                                     $500.00


                                    Remmington 700 .243                                                                                                         $100.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                       page 2
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                Case 22-20025-rlj11 Doc 30 Filed 03/22/22                                                               Entered 03/22/22 08:43:56          Page 5 of 9
                                                                                                                                                                          3/22/22 8:16AM

 Debtor 1          Tony Alton Pennington                                                                                          Case number (if known)


                                            Kimber Lyte 9mm (wife's)                                                                                                       $100.00


                                            Remmington VersaMax shotgun 12g                                                                                                  $10.00


                                            TC Encore muzzle load                                                                                                            $50.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.       Describe.....

                                            Clothing                                                                                                                     $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.       Describe.....

                                            Wife's wedding ring                                                                                                          $1,500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                               $5,760.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured
                                                                                                                                                            claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                                     Cash on
                                                                                                                                     hand, child
                                                                                                                                     tax payments
                                                                                                                                     / COVID
                                                                                                                                     stimulus                            $3,500.00


                                                                                                                                     Refund from
                                                                                                                                     Chapter 13
                                                                                                                                     trustee, prior
                                                                                                                                     case                                $3,530.92




Official Form 106A/B                                                                      Schedule A/B: Property                                                               page 3
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
              Case 22-20025-rlj11 Doc 30 Filed 03/22/22                                       Entered 03/22/22 08:43:56                  Page 6 of 9
                                                                                                                                                      3/22/22 8:16AM

 Debtor 1        Tony Alton Pennington                                                                          Case number (if known)

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                        17.1.                                 Wells Fargo Checking                                                   $1,029.34



                                        17.2.                                 Peoples FCU Checking (petition date balance)                           $4,434.57


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
     No
     Yes. Give specific information about them...................
                                          Name of entity:                                                        % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                          Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                        Type of account:                      Institution name:

                                                                              Retirement account through employment
                                                                              (20.0% vested= $6,400)                                               $32,000.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.     Give specific information about them...

Official Form 106A/B                                                   Schedule A/B: Property                                                              page 4
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
              Case 22-20025-rlj11 Doc 30 Filed 03/22/22                                Entered 03/22/22 08:43:56                 Page 7 of 9
                                                                                                                                                   3/22/22 8:16AM

 Debtor 1       Tony Alton Pennington                                                                  Case number (if known)


                                              0.33 interest in sporting goods product under development, patent
                                              application pending with co-owners, unknown value (see also
                                              Category #42).                                                                                            $0.00


27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

                                              New Mexico Guide License                                                                                  $0.00


 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                         Company name:                                        Beneficiary:                           Surrender or refund
                                                                                                                                     value:

                                         Term life insurance.                                                                                           $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..
Official Form 106A/B                                                 Schedule A/B: Property                                                             page 5
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
               Case 22-20025-rlj11 Doc 30 Filed 03/22/22                                                  Entered 03/22/22 08:43:56                            Page 8 of 9
                                                                                                                                                                              3/22/22 8:16AM

 Debtor 1        Tony Alton Pennington                                                                                            Case number (if known)



 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................           $44,494.83


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.


                                                                                                                                                                Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.

38. Accounts receivable or commissions you already earned
     No
     Yes. Describe.....

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
     No
     Yes. Describe.....

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
     Yes. Describe.....

41. Inventory
     No
     Yes. Describe.....

42. Interests in partnerships or joint ventures
    No
     Yes.      Give specific information about them...................
                                      Name of entity:                                                                              % of ownership:


                                             0.33 interest in potential future venutre
                                             developing intellectual property (see also
                                             Category No. 26).                                                                                           %                         $0.00


43. Customer lists, mailing lists, or other compilations
    No.
    Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

               No
               Yes. Describe.....

44. Any business-related property you did not already list
     No
     Yes. Give specific information.........


 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................                  $0.00

Official Form 106A/B                                                           Schedule A/B: Property                                                                              page 6
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                                      Best Case Bankruptcy
               Case 22-20025-rlj11 Doc 30 Filed 03/22/22                                                       Entered 03/22/22 08:43:56                         Page 9 of 9
                                                                                                                                                                              3/22/22 8:16AM

 Debtor 1         Tony Alton Pennington                                                                                                 Case number (if known)


 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.      Go to line 47.



 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                     $0.00
 56. Part 2: Total vehicles, line 5                                                                           $13,000.00
 57. Part 3: Total personal and household items, line 15                                                       $5,760.00
 58. Part 4: Total financial assets, line 36                                                                  $44,494.83
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $63,254.83              Copy personal property total         $63,254.83

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $63,254.83




Official Form 106A/B                                                               Schedule A/B: Property                                                                          page 7
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                                      Best Case Bankruptcy
